                  Case 1:05-cr-00286-AWI Document 45 Filed 10/02/06 Page 1 of 1


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 4                                     IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                           EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                            )
                                                          )
 8                                    Plaintiffs,         )       No. CR-05-286-AWI
                                                          )
 9                   vs.                                  )       ORDER OF RELEASE
                                                          )
10   Juvenal Godinez,                                     )
                                                          )
11                                         Defendant.     )
                                                          )
12
                     The above named defendant having been sentenced to Time
13
     Served,
14
                     IT IS HEREBY ORDERED that the defendant shall be released
15
     forthwith. A certified Judgment and Commitment order to follow.
16

17
     IT IS SO ORDERED.
18
     Dated:                 October 2, 2006                    /s/ Anthony W. Ishii
19   0m8i78                                              UNITED STATES DISTRICT JUDGE

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